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                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


BUMBLE TRADING, INC. and BUMBLE
HOLDING, LTD.,                        Case No.: 6:18-cv-00350-ADA
     Plaintiffs/Counter-Defendants,   PLAINTIFFS’ REPLY IN SUPPORT
                                      OF MOTION FOR LEAVE TO
     vs.
                                      FILE ORIGINAL PETITION
MATCH GROUP, LLC,                     IN STATE COURT

    Defendant/Counter-Plaintiff.


           PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR LEAVE
               TO FILE ORIGINAL PETITION IN STATE COURT
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I.        INTRODUCTION.

          Bumble1 filed a complaint in Texas state court, Match removed the case, and Bumble soon

after sought voluntary dismissal under Rule 41(a)(2). This should have been a routine dismissal

without prejudice, which courts in the Fifth Circuit “freely grant[].” (Dkt. 23 at 3.) Match had

different plans. Match knew that Bumble would file a revised and non-removable complaint in

state court, but Match wanted a federal forum. So Match launched a campaign to complicate

Bumble’s dismissal that has run roughshod over the Federal Rules of Civil Procedure and the

purpose of the Declaratory Judgment Act.          Three motions and ten briefs later, Match’s

Opposition to Bumble’s Motion for Leave to File (Dkt. 60, “Opposition” or “Opp.”) is the

culmination of this campaign and lays bare its impropriety for all to see.

II.       ARGUMENT.
          A.     Match Improperly Attempts to Use Its Declaratory Relief Counterclaims to
                 Control the Forum of the Proposed Petition.
          Match knew it could not defeat Bumble’s Motion for Voluntary Dismissal, given the

permissive standard of Rule 41(a)(2). Instead, Match rapidly filed a set of mirror declaratory relief

counterclaims. (Dkt. 30, “Counterclaims.”) Match raced to file these Counterclaims, even before

the Court ruled on Bumble’s Motion for Voluntary dismissal, to head off Bumble from refiling a

modified complaint in state court. Match does not care about resolution of its Counterclaims

(many seek impossibly broad relief, e.g., a declaration that Match committed no business torts

over a years-long negotiation, or are fully redundant with claims Match was already litigating for

damages). These Counterclaims serve a single, ulterior purpose: To allow Match to argue that

future state-law claims Bumble might file are compulsory counterclaims to the Counterclaims, and

therefore must be litigated in Match’s preferred federal forum. (See Opp. 2-5.)

          While a clever strategy, Match was not the first to think of it. The tactic of using

declaratory relief claims to control the forum of litigation is as old as the Declaratory Judgment

Act itself; and for as long as parties have tried it, courts across the country have resoundingly


1
    The defined terms used in Bumble’s Motion for Leave to File are used here. (Dkt. 59, “Motion”.)

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rejected it. See, e.g., Vaden v. Discover Bank, 556 U.S. 49, 70 n.19 (2009) (“The Declaratory

Judgment Act was not intended to enable a party to obtain a change of tribunal from a state to

federal court, and it is not the function of the federal declaratory action merely to anticipate a

defense that otherwise could be presented in a state action.” (citation omitted)); Dresser Indus.,

Inc. v. Ins. Co. of N. Am., 358 F. Supp. 327, 330 (N.D. Tex. 1973), aff’d without opinion, 475 F.2d

1402 (5th Cir. 1973) (holding declaratory action not meant “to furnish a new choice of tribunals

or to draw into the federal courts the adjudication of causes properly cognizable by courts of the

states”); Lucchese, Inc. v. John Wayne Enters., LLC, No. EP-17-CV-135-PRM, 2017 WL

3260493, at *6 (W.D. Tex. July 31, 2017) (rejecting declaratory action that would “disregard

[plaintiff’s] choice of forum, parties, and claims that the plaintiff, not the defendant, has a right to

select”); TK Holdings, Inc. v. Ordonez, No. 1:17-CV-250-LY, 2017 WL 2923829, at *3 (W.D.

Tex. July 6, 2017), report and recommendation adopted, No. 17-CV-250-LY, 2017 WL 5382067

(W.D. Tex. July 28, 2017) (declining to “allow a party to secure a more favorable forum by filing

an action for declaratory judgment when it has notice that the other party intends to file suit

involving the same issues in a different forum” (citation omitted)); Tempco Elec. Heater Corp. v.

Omega Eng’g, Inc., 819 F.2d 746, 750 (7th Cir. 1987) (emphasizing “ federal declaratory judgment

is not a prize to the winner of the race to the courthouse” and “[t]he wholesome purpose of

declaratory acts would be aborted by its use as an instrument of procedural fencing” (citations

omitted)); BASF Corp. v. Symington, 50 F.3d 555, 558-59 (8th Cir.1995) (similar); AmSouth Bank
v. Dale, 386 F.3d 763, 788 (6th Cir. 2004) (similar). The only correct course is not to deny Bumble,

the true plaintiff, its choice of forum for its state-law claims, but to dismiss Match’s improper

Counterclaims. E.g., UAW v. Dana Corp., No. 3:99CV7603, 1999 WL 33237054, at *5-6 (N.D.

Ohio Dec. 6, 1999) (noting “presumption that a first filed declaratory judgment action should be

dismissed or stayed in favor of the substantive suit”).2

2
  Even putting aside this abuse of the Declaratory Judgment Act, Match is wrong to contend that
the Proposed Petition’s claims must be plead as compulsory counterclaims in the present action.
Match fails to cite a single case in support of this position. All of Match’s cases instead discuss
claims barred by the doctrines of claim or issue preclusion. (See Opp. at 2-4.) But those doctrines

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       B.      Match Improperly Attempts to Use its Declaratory Relief Counterclaims to
               Create Supplemental Jurisdiction for the Proposed Petition.
       Match uses its sham declaratory relief claims for a similar and equally improper purpose.

The Opposition argues there is supplemental jurisdiction over Bumble’s proposed state-law claims

because they share a common nucleus of operative facts with the Counterclaims. (Opp. at 5-6.)

That fails for two reasons.     First, this Court lacks jurisdiction to hear Match’s state-law

Counterclaims in the first place. (See Dkt. 33 at 5-9.)3 Second, even if Match had requested a

declaration under the Defend Trade Secrets Act, as Match falsely contends it already has (see Dkt.

56 at 5-6), this would still be an impermissible abuse of the Declaratory Judgment Act and the

rules of supplemental jurisdiction: “The Declaratory Judgment Act [was not] intended to permit

a person to invoke the jurisdiction of the federal courts merely because he commenced a

declaratory judgment action before the other party was able to commence his nonremovable

coercive action in state court.” Lexington Ins. Co. v. W. Star Transportation, Inc., No. 5:16-CV-

179-C, 2017 WL 3867770, at *2 (N.D. Tex. May 2, 2017) (emphasis added) (quoting First Fed.

Sav. & Loan Ass’n v. McReynolds, 297 F. Supp. 1159, 1161 (W.D. Ky. 1969)). That is precisely

what Match hopes to do here. (Opp. at 5-6.)

       C.      Match has Already Waived all of its Argument in the Opposition.

       In any event, the Court does not have to reach any of these issues. Match already filed a

nonopposition to Bumble’s Motion for Voluntary Dismissal, thereby ending this inquiry and

waiving all of the argument Match has raised since. (See Motion at 2-4.) The Opposition buries

this issue, does nothing to rebut the authority Bumble cited in its Motion, and appears to concede

that its arguments have been waived—asserting instead that the Court can rule on its own accord

regardless of the position the “parties” (i.e. Match) previously took. (Opp. at 9 (“the Court is not

bound by the parties’ positions”).) Neither the Court’s sua sponte powers, nor anything in the


have no relevance here because there has been no final judgment. See 18 Charles A. Wright &
Arthur R. Miller et al., Federal Practice & Procedure § 4406 (3d ed. 2018).
3
  Match also argues there is federal question jurisdiction over one of Bumble’s original claims.
(Opp. at 5.) Not so. Regardless, Bumble will file the Proposed Petition only after this Court grants
the unopposed dismissal of that claim—so it cannot serve as a basis for supplemental jurisdiction.

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Opposition, justify the simple fact that Match has now improperly presented dozens of pages of

argument and already waived any argument of prejudice from a dismissal without condition.4

          D.     Match makes the Outrageous Claim that Bumble is a Vexatious Litigant.

          In the Fifth Circuit, conditioning a Rule 41 dismissal with a filing limitation is disfavored

and, as Bumble noted in its Motion, neither party has identified a single case where a court did so

without first finding a party vexatious. (Motion at 4-5.) The Opposition again fails to produce

any such case and tacitly endorses that filing limitations are only proper for vexatious litigants.

(See Opp. at 6.) Faced with no other choice, Match argues that Bumble is a vexatious litigant,

supposedly because Bumble filed a complaint in state court, sought to have it voluntarily dismissed

after it was removed, and intends to file a different complaint in state court in the future. (Opp. at

6 (“This is now Bumble’s second distinct attempt to litigate this single case and controversy in a

separate forum.”).) This does not amount to vexatious litigation and Match’s own cases agree.

E.g., Bechuck v. Home Depot USA, Inc., 814 F.3d 287, 292 (5th Cir. 2016) (finding no “pattern of

past vexatious behavior” where case involved party’s “first suit . . . and his first voluntary

dismissal”)5; see also Saleh v. Time Warner Cable, No. 3-16-cv-2782-BN, 2017 WL 979061, at
*5-6 (N.D. Tex. Feb. 17, 2017) (finding no prejudice and refusing conditions on Rule 41 dismissal

where party filed its first suit and sought its first voluntary dismissal).6 Match is essentially arguing

that if a litigant makes use of Rule 41(a)(2) once, they should be treated as vexatious. Not so.
          E.     Match Makes the Even More Outrageous Claim that the Court has Already
                 Ruled on these Issues.
          Match’s contention that the Court already ruled on Bumble’s Rule 41 Motion is a stunning

misstatement of the record. (Opp. at 8.) Match cites “12/10/18 Hr. Tr. at 15:4-15,” but nothing

4
  Match’s excuse for its flip-flop is unconvincing—that its nonopposition was made under
“different facts,” before transfer was granted. When Match filed its nonopposition, it had already
moved to transfer and Bumble had stated its nonopposition. Transfer was a foregone conclusion.
5
    Match’s characterization of Bechuck, (Opp. at 6), is patently inaccurate. (See Motion at 4-5.)
6
  The only other cases Match cites on this issue show how baseless Match’s allegation is here. See
Newby v. Enron Corp., 302 F.3d 295, 301 (5th Cir. 2002) (finding party vexatious after seven
lawsuits); Harrelson v. United States, 613 F.2d 114, 116 (5th Cir. 1980) (finding party vexatious
after “forc[ing] defendants in and out of court for almost five years” (emphasis added)).

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from those lines comes close to a ruling from the bench. Here is what the Court stated on the issue:

        “I am deciding a little bit in the dark here so I'm not telling Bumble not to . . . come
        forward . . . I’ll do my very best if you want to file a cause of action in state court
        and can persuade me that it’s unrelated to what is already in my case and that it
        would be more fair to you to allow you to bring it in state court—let me make the
        record clear—I invite you to move the Court and I'll give Match an opportunity to
        explain why you're wrong . . . .”
(See 12/10/18 Hr. Tr. at 15:14-22.) This motion is therefore not a motion for reconsideration as

Match tries to make it out to be.
        F.       There Are Two Distinct Disputes Between the Parties that Can and Should Be
                 Litigated Separately.
        Match sued Bumble, primarily alleging that Bumble’s app violates Match’s patents. (See

Case No. 18-cv-00080.) That litigation, and the associated discovery, will concern the validity of

the patents, other related claims, and the nature of Bumble’s app—it will be largely resolved under

federal law. Bumble intends to sue Match for something fundamentally different: Match’s tortious

conduct during negotiations for a possible acquisition of Bumble. (See Dkt. 59-1.) Match’s

Proposed Petition has no nexus with either Match’s patents or Match’s lawsuit. (Dkt. 59 at 6-7.)

These are fundamentally different disputes, with virtually no overlapping discovery needs.7

        The Opposition spills much ink explaining why Bumble is splitting claims and wasting

resources with duplicative litigation. (Opp. at 2-7.) But the simple fact is that Match is suing

Bumble in federal court and Bumble intends to sue Match in state court for unrelated violations of

Texas law—the only remaining bridge between these two disputes is Match’s Counterclaims,

which were contrived for this very purpose. Match has played a procedural game to try to keep

state-law claims in federal court. But the game is up, and the Opposition reveals Match’s scheme

for what it is. Accordingly, the Court should permit Bumble to file the Proposed Petition in Texas

state court.

7
 Match wrongly argues that even if the Proposed Petition is filed in state court, Match will allege
patent counterclaims and remove under 28 U.S.C. § 1454. (Opp. at 7-8.) But of course a defendant
cannot create federal question jurisdiction simply by alleging patent counterclaims that have no
nexus with the state-law claims they counter. See Donahue v. Tokyo Electron Am., Inc., No. A-
14-CA-563-SS, 2014 WL 12479285, at *8 (W.D. Tex. Sept. 2, 2014).

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Dated: January 29, 2019               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            The undersigned certifies that the foregoing document was filed electronically with the

 Clerk of Court using the CM/ECF system which will send notification of such filing to all counsel

 of record on January 29, 2018.

                                                        /s/ Matthew D. Caplan
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